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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                    HAMMOND DIVISION

 UNITED STATES OF AMERICA,                              )
                                                        )
                                Plaintiff,              )
                                v.                      )       CAUSE NO.: 2:08-CR-11-RL
                                                        )
 ROBERT JAMES DAVIS,                                    )
                                Defendant.              )

           FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
           UPON A PLEA OF GUILTY BY DEFENDANT ROBERT JAMES DAVIS

 TO:    THE HONORABLE RUDY LOZANO, JUDGE,
        UNITED STATES DISTRICT COURT

        Upon Defendant Robert James Davis’ request to enter a plea of guilty pursuant to Rule 11 of

 the Federal Rules of Criminal Procedure, this matter came for hearing before Magistrate Judge Paul R.

 Cherry, on November 4, 2008, with the consent of Defendant Robert James Davis, counsel for

 Defendant Robert James Davis, and counsel for the United States of America.

        The hearing on Defendant Robert James Davis’ plea of guilty was in full compliance with Rule

 11, Federal Rules of Criminal Procedure, before the Magistrate Judge in open court and on the record.

        In consideration of that hearing and the statements made by Defendant Robert James Davis

 under oath on the record and in the presence of counsel, the remarks of the Assistant United States

 Attorney and of counsel for Defendant Robert James Davis,

        I FIND as follows:

        (1) that Defendant Robert James Davis understands the nature of the charge against him to

 which the plea is offered;

        (2) that Defendant Robert James Davis understands his right to trial by jury, to persist in his

 plea of not guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses,
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 and his right against compelled self-incrimination;

        (3) that Defendant Robert James Davis understands what the maximum possible sentence is,

 including the effect of the supervised release term, and Defendant Robert James Davis understands that

 the sentencing guidelines apply and that the Court may depart from those guidelines under some

 circumstances;

        (4) that the plea of guilty by Defendant Robert James Davis has been knowingly and voluntarily

 made and is not the result of force or threats or of promises;

        (5) that Defendant Robert James Davis is competent to plead guilty;

        (6) that Defendant Robert James Davis understands that his answers may later be used against

 him in a prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant Robert James Davis’ plea; and further,

        I RECOMMEND that the Court accept Robert James Davis’ plea of guilty to the offense

 charged in Count 2 of the Indictment and that Defendant Robert James Davis be adjudged guilty of the

 offense charged in Count 2 of the Indictment and have sentence imposed. A Presentence Report has

 been ordered. Should this Report and Recommendation be accepted and Defendant Robert James

 Davis be adjudged guilty, sentencing will be held January 21, 2009, at 12:30 p.m. in the Hammond

 Division, before Judge Rudy Lozano. Objections to the Findings and Recommendation are waived

 unless filed and served within ten (10) days. 28 U.S.C. § 636(b)(1)(B).

        So ORDERED this 5th day of November, 2008.

                                                        s/ Paul R. Cherry
                                                        MAGISTRATE JUDGE PAUL R. CHERRY
                                                        UNITED STATES DISTRICT COURT
 cc:    All counsel of record
        Honorable Rudy Lozano
